Case: 1:07-cr-00413-CAB Doc #: 50 Filed: 02/19/08 1 of 3. PageID #: 176




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION



UNITED STATES OF AMERICA,                   )   CASE NO. 1:07CR413-004
                                            )
      Plaintiff,                            )   JUDGE CHRISTOPHER A. BOYKO
                                            )
              v.                            )   MAGISTRATE JUDGE VECCHIARELLI
                                            )
NICHELLE ZANDERS,                           )
                                            )   ORDER
      Defendant,                            )


      Defendant, Nichelle Zanders, was sentenced by this Court on January 9, 2008 to

3 years Probation, Home Confinement with Electronic Monitoring for 6 months, Drug

Testing and Treatment, and Restitution in the amount of $2,077.96. Defendant entered

a plea of guilty to Count 4 of an indictment charging 18 U.S.C. § 513(a) - Making

Uttering and Possessing Counterfeited and Forged Securities of an Organization.

       The Court received a Violation Report from the Pretrial/Probation office

recommending the Court issue a summons for Defendant to appear for an Initial

Appearance followed by a Revocation Hearing at a later date. The Violation Report

listed the nature of each noncompliance: (1) Defendant’s phone was disconnected due

to non-payment, interrupting the operation of the monitoring equipment in violation of
Case: 1:07-cr-00413-CAB Doc #: 50 Filed: 02/19/08 2 of 3. PageID #: 177




the conditions of the Home Confinement Program and (2) Drug Usage. Defendant,

represented by counsel, appeared before this Court for an Initial Appearance on

February 14, 2008.

      Mabel Harris, Treatment Specialist from the Pretrial/Probation office, confirmed

Defendant’s phone services were disconnected for non-payment and that Defendant

tested positive for drug usage on January 9, 2008; January 11, 2008; February 4, 2008;

and February 14, 2008.

      Counsel for Defendant stated Defendant lives with her boyfriend who is

supportive of her, does not use drugs, and that Ms. Zanders is requesting continued

drug treatment.

      The Government had no objections to Defendant’s request.

      Mabel Harris’ plan of intervention for Defendant involves:

      •      Participation in services provided by the AIDS Task Force;

      •      Psychotherapy;

      •      Assessment Treatments at Stellar-Maris including intense drug testing two

             to three times per week;

      •      Weekly individual counseling and twice weekly group counseling at

             Stellar-Maris;

      •      Continued participation with community resources for medical, mental

             health, and substance abuse treatment; and,

      •      Home Confinement with Electronic Monitoring.

      Therefore, it is ORDERED that Defendant will follow the plan of intervention

outlined by Mabel Harris, Treatment Specialist, and shall continue to abide by the
Case: 1:07-cr-00413-CAB Doc #: 50 Filed: 02/19/08 3 of 3. PageID #: 178




conditions of Probation set forth in this Court’s Judgment and Commitment entered on

January 14, 2008.

      This Violation Hearing is continued to May 14, 2008 at 2:00 p.m. at which time

the Court will review Defendant’s progress.

             IT IS SO ORDERED.



                                        s/Christopher A. Boyko
                                        Christopher A. Boyko
                                        United States District Judge


February 19, 2008
